           In the United States Court of Federal Claims
                                            No. 17-877C
                                       (Filed: May 14, 2020)

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COMMON GROUND HEALTHCARE              *
COOPERATIVE,                          *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
***************************************

                                             ORDER

        Plaintiff filed the above-captioned case on June 27, 2017, seeking risk corridors payments
for the 2016 benefit year. On August 11, 2017, the court stayed proceedings on the merits of the
case pending a decision by the United States Court of Appeals for the Federal Circuit (“Federal
Circuit”) in Moda Health Plan, Inc. v. United States and/or Land of Lincoln Mutual Health
Insurance Co. v. United States. Plaintiff filed an amended complaint on November 22, 2017,
adding allegations and claims related to cost-sharing reduction payments. On January 8, 2018,
the court granted plaintiff’s motion to certify a risk corridors class. 1 Then, on June 29, 2018, the
court lifted the stay with respect to the cost-sharing reduction claims, 2 continued the stay with
respect to the risk corridors claims, and directed the parties to file a joint status report within
fifteen days of final, nonappealable judgments in Moda and Land of Lincoln.

        In June 2019, the United States Supreme Court (“Supreme Court”) agreed to hear appeals
in three risk corridors cases––Moda, Land of Lincoln, and Maine Community Health Options v.
United States––and consolidated the cases for briefing and argument. The Supreme Court issued
its decision on April 27, 2020, concluding that insurers, pursuant to § 1342 of the Affordable
Care Act (“ACA”), have both the right to risk corridors payments and a damages remedy in this
court for unpaid amounts. See generally Me. Cmty. Health Options v. United States, 140 S. Ct.
1308 (2020).

       1
          The class includes insurers with claims for the 2016 benefit year. A separate class
action for the 2014 and 2015 benefit years––Health Republic Insurance Co. v. United States, No.
16-259C––is also before the court.
       2
         The court ultimately issued a decision and entered judgment on the cost-sharing
reduction claims. An appeal of that judgment is currently before the Federal Circuit.
        In accordance with the court’s June 29, 2018 order, the parties filed a joint status report
on May 12, 2020. In short, plaintiff, on behalf of itself and the class, requests that the court lift
the stay of proceedings, enter judgment for the class (upon plaintiff’s filing of the appropriate
motion), and schedule a telephonic status conference to “finalize the judgment and the mechanics
and logistics of post-judgment procedures,” 3 while defendant requests an additional forty-five
days to “consider its position” and “propose, jointly with the plaintiffs to the extent possible, a
course to govern proceedings moving forward.” Defendant represents that this additional time is
necessary for several reasons: (1) to continue “to review the Supreme Court’s decision”; (2) to
ensure that it can resolve the claims of every insurer who participated on an Exchange during
2014, 2015, and 2016 “in a similar manner”; (3) to determine “the precise amount of risk
corridors payments paid to and remaining for each” insurer by reviewing “the record of
payments and charges and the history of distributions made”; and (4) to determine whether
plaintiffs “have outstanding debts owed to [the United States Department of Health and Human
Services] under other ACA programs,” provide the opportunity to resolve debt-related issues,
and, because it has not yet filed an answer, “consider whether it would be appropriate to raise
defenses not previously considered and whether to counterclaim.” Plaintiff rejects defendant’s
rationales, remarking that liability is undisputed, that the amount of damages it seeks is derived
from the government’s own calculations, that the status of other cases is irrelevant to this case,
and that the government has never raised the possibility of asserting a defense in this case (in
which defendant agreed to class certification and did not mention the existence of any debts in
proceedings on the cost-sharing reduction claims).

         The court has reviewed the parties’ positions and their stated rationales, and finds that it
is in the interest of justice to allow defendant an additional forty-five days to consider how it
would like to proceed and to work with plaintiff to propose a plan for further proceedings.
Defendant shall make every effort to use the forty-five days to confirm the full amount of risk
corridor payments due to each class member. In addition, in light of the clear holding of the
Supreme Court in Maine Community Health Options regarding the government’s liability for
unpaid risk corridors payments and the ease of determining the amount of risk corridors
payments due to each class member, the parties shall be prepared for an expeditious resolution of
this case once the forty-five days have passed.

       The court LIFTS the stay of proceedings. The parties shall file a joint status report
proposing a schedule for further proceedings no later than Monday, June 29, 2020.

       IT IS SO ORDERED.

                                                       s/ Margaret M. Sweeney
                                                       MARGARET M. SWEENEY
                                                       Chief Judge

       3
          Plaintiff also notes that it filed a motion to include six additional insurers as members
of the class. Unlike in previous motions to add class members, plaintiff did not indicate
defendant’s position on the motion. Accordingly, the court defers ruling on the motion until
defendant files a response.

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